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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OKLAHOMA

United States of America,
Plaintiff,
vs. Case No.: 22-cr-00115-JFH-5
Izabella Marie Boling, WAIVER OF JURY TRIAL
Defendant.

COMES NOW the undersigned defendant, and having been fully apprised of my rights, do hereby
WAIVE my SIXTH AMENDMENT RIGHTS to a jury IN ALL RESPECTS both as to guilt or innocence and

as to sentencing.
Accordingly, I hereby CONSENT that all matters in the above styled and numbered
criminal proceedings be determined by the Court in accordance with Rule 23, Federal Rules of Criminal

Procedure.

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Izabella Marie Boling, 1g, Defendagt

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CONSENT OF GOVERNMENT:

Assistant United States a
Signed and approved in open court on 1/6/2023.
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Beth M. Deere, U.S. Magistrate Judge

Change Plea Magistrate Judge (8/2021)
